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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

PLANET AID, INC., et al.,              :

       Plaintiffs,                     :

v.                                     :
                                              Civil Action No. GLR-16-2974
REVEAL, CENTER FOR              :
INVESTIGATIVE REPORTING, et al.,
                                :
     Defendants.

                           MEMORANDUM OPINION

       THIS MATTER is before the Court on Defendants’, Reveal, the

Center for Investigative Reporting (“Reveal”), Matt Smith, and

Amy Walters, Motion to Dismiss for Lack of Personal Jurisdiction

and Improper Venue (ECF No. 11).                  Also before the Court is

Plaintiffs’,    Planet    Aid,   Inc.       (“Planet    Aid”)   and   Lisbeth

Thomsen, Motion for Leave to File a Sur-Reply (ECF No. 15).

This   defamation    action   arises       from   Reveal’s   reporting   about

Planet Aid in 2016.       The Motions are ripe for disposition, and

no hearing is necessary.         See Local Rule 105.6 (D.Md. 2016).

For the reasons outlined below, the Court will grant the Motions

and transfer this case to the United States District Court for

the Northern District of California.
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                                          I.     BACKGROUND1

         Reveal           is        a     California-based         not-for-profit       news

organization that conducts investigative reporting.                             (Pyle Decl.

¶   8,       ECF    No.    11-11).2            Smith    and   Walters   are   Reveal   staff

reporters who are domiciled in California and work at Reveal’s

Emeryville, California offices.                          (Smith Decl. ¶¶ 2–5, ECF No.

11-12; Walters Decl. ¶¶ 2–6, ECF No. 11-13).                                  Reveal has a

website,           which       is   supported     by     servers   based   in   Emeryville.

(Pyle Decl. ¶ 7).                       In the spring and summer of 2016, Reveal

published on its website a series of articles and podcasts about

Planet Aid; these publications are the subject of this lawsuit.

(Compl. ¶¶ 49–55, ECF No. 1).

         Planet Aid is a charitable organization with operations in

at least twenty-one states and affiliates in sixteen African

countries.           (Id. ¶¶ 17, 19).                  Planet Aid’s principal place of

business is Maryland.3                      (Id.).       Planet Aid has approximately


         1
        Unless otherwise indicated, the following facts are
uncontroverted and the Court construes them in favor of
jurisdiction. New Wellington Fin. Corp. v. Flagship Resort Dev.
Corp., 416 F.3d 290, 294 (4th Cir. 2005) (citations omitted).
     2
       A court is permitted to consider evidence outside the
pleadings when resolving a Rule 12(b)(2) motion.      See Section
II.B.1 infra.
     3
       The parties dispute where Planet Aid has its principal
place of business. The Complaint alleges Planet Aid’s principal
place of business is Maryland. (Id. ¶ 17). Defendants contend
Planet Aid’s principal place of business is Massachusetts. For
the purposes of Defendants’ Motion, the Court infers that Planet
Aid’s principal place of business is Maryland.           See New
Wellington, 416 F.3d at 294.
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seventy-five        employees      between        its    two    Maryland       locations:    a

processing       center      for   clothing        and     an     office       that   manages

partnerships and donor programs.                    (Neltrup Decl. ¶¶ 5, 9, 10,

ECF No. 13-19).

A.     Reveal’s Reporting on Planet Aid

       Smith and Walters investigated Planet Aid in 2015 and 2016.

(See Walters Decl. ¶ 8; Smith Decl. ¶ 7).                         They traveled to New

York,     Washington,          D.C.,    California,            South   Africa,        Malawi,

Mexico, and Denmark to interview people for articles they were

writing about Planet Aid.              (Id.).       They also called to interview

people    located       in     other   United       States      cities,        southern    and

central Africa, Denmark, China, the United Kingdom, and Mexico.

(Id.).        Smith and Walters emailed two Planet Aid employees in

Maryland in 2015 and 2016,                requesting to set up interviews.

(Lichtenberg Decl. Exs. A–C, ECF No. 13-22 through 24; Teppih

Decl.     ¶    4,   ECF      No.   13-25).          Despite       these        attempts,    no

interviews were           conducted     in Maryland.              (Walters Decl. ¶ 8;

Smith Decl. ¶ 7).              Smith and Walters traveled to Maryland and

photographed Planet Aid’s building, but never used the photo for

their stories.        (Id.).

       On March 19, 2016, Reveal published its first report on

Planet Aid by posting an hour-long podcast entitled, “Alleged

Cult    Leader      Plays    Shell     Game   with       U.S.     Foreign      Aid”   on   its

website       (“March     19    Podcast”).              (Compl.    Ex.     A     [“March    19

                                              3
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Article”], ECF No. 1-2).                    The March 19 Podcast stated that a

Federal Bureau of Investigation report linked Planet Aid to a

Danish     money      laundering         organization            called     the    “Teachers

Group,” who some describe as a cult.                         (Compl. Ex. G [“March 19

Podcast Transcripts”] at 8, ECF No. 1-2).                         The podcast described

Planet    Aid’s      activities        in    Africa       and    relationship      with   the

Teachers      Group,    as    well     as     the    extent      of   the   United   States

government’s awareness of each.                     (See generally March 19 Podcast

Transcripts).          The March 19 Podcast asserted that Planet Aid

stole money from the United States Department of Agriculture

(“USDA”),      directed      it   to     other       countries,       and   misrepresented

Planet Aid employee salaries to the USDA.                        (Id.).

       On May 28, 2016, Reveal published an update of the March 19

Podcast (“May 28 Podcast”), which included the same material as

the    March    19     Podcast      as      well     as    new    information      from     an

additional      investigation          its    reporters         conducted.        (Compl.    ¶

55).     Reveal recorded, edited, and posted the March 19 and May

28 Podcasts (collectively, the “Podcasts”) in California.                             (Pyle

Decl.    ¶¶    7,    10).     The      Podcasts       were      available    for    download

through programs such as iTunes.                    (Id. ¶ 7).

       On March 19, 2016 and May 23, 2016, coinciding with the

release of the Podcasts, Reveal published on its website several

news articles describing Planet Aid’s international activities.

(Compl. ¶ 51).              Reveal also published other articles on its

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website that mention Planet Aid (collectively, the “Articles”).

(Id.).       The Articles maintained that Planet Aid committed fraud

and redirected to other countries 50% to 70% of the $130 million

the USDA gave Planet Aid.                  (Id. ¶ 185).         They also stated that

U.S.       government       officials      were      investigating       Planet         Aid    for

fraud and tax evasion.               (Id.).       Smith and Walters wrote, edited,

and posted the Articles in California.                      (Pyle Decl. ¶ 10).

B.     NBC 4’s Reporting on Planet Aid

       Apart        from    their    own    reporting         for    Reveal,         Smith,    and

Walters gave an interview to a reporter with NBC’s Washington

D.C. affiliate (“NBC 4”), who did its own investigation into

Planet       Aid.      (Walters       Decl.      ¶   9;   Smith      Decl.     ¶      8).      The

interview took place in Reveal’s Emeryville newsroom.                                       (Id.).

NBC    4    is   based       in    Washington,       D.C.       (Compl.      ¶       55).      The

principal reporter on NBC 4’s Planet Aid investigation was Tisha

Thompson, a member of                NBC 4’s I-Team and Maryland resident.

(Compl. ¶ 55; Rosenthal Decl. ¶ 28, ECF No. 13).

       NBC 4 aired two television stories on Planet Aid, one on

May    23,     2016    --    the    same    day      Reveal    published         a    series    of

articles on Planet Aid -- and the other on May 24, 2016 (“NBC 4

Broadcasts”).          (See generally Compl. Ex. H).                    Also on May 24,

2016, NBC 4 published an article on its website entitled “Behind

the    Bins:        Former    Planet       Aid    Employees         Describe         ‘Cult-like’

Experience.”           (Id.).        The same day, Thompson tweeted at two

                                                 5
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Twitter     users,         @RoseRiverFamily            and     @CordellTraffic,        asking

where     Planet       Aid     clothing          donation           boxes     are    located.

(Rosenthal         Decl.    Ex.     F,     ECF       No.     13-6).         @RoseRiverFamily

indicated      a    donation        box    was       located    in    Waldorf,      Maryland;

@CordellPugh said there was one in Bethesda, Maryland.                              (Id.).

      The NBC 4 Broadcasts stated that Planet Aid was a Maryland-

based charity and featured a former employee who worked in one

of Planet Aid’s Maryland locations.                        (Compl. ¶ 59).           The NBC 4

Broadcasts described Reveal’s investigation, including Reveal’s

reporting that Planet Aid employees were required to contribute

significant        portions        of   their    salary        to    the    Teachers   Group.

(Compl. at 62).            The NBC 4 Broadcasts aired a clip from Smith’s

interview in which she stated that Planet Aid had been putting

out “fraudulent propaganda.”                 (Pls. Opp. Mot. Dismiss at 6, ECF

No. 13-27 (citing News4 at 6: Behind the Bins: What Did Planet

Aid Do With Your Taxpayer Dollars?, (NBC television broadcast

May 23, 2016), https://tinyurl.com/htu2lvy [“May 23 Broadcast”]

at   4:11)).         The    NBC     4     Broadcasts         asserted      that   Planet    Aid

required African villages to buy water pumps, even though the

villages could not afford it.                    (Id. at 4:15).             NBC 4 reporters

encouraged     viewers        to    stop     donating         clothing      to    Planet   Aid.

(Compl. ¶ 59).




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C.     Reveal’s Distribution of the Reports

       In addition to posting the Podcasts on its website, Reveal

syndicated the March 19 Podcast and the May 28 Podcast to more

than   364   radio   stations   nationwide      through   the    Public    Radio

Exchange (“PRX”), a distribution platform.                (Pyle Decl. ¶¶ 7,

10).     Among these radio stations were four Maryland stations

that broadcasted the Podcasts: Baltimore’s WYPR-FM, Frederick’s

W228AM, Ocean City’s WRAU, and Paramount’s W228AB.                 (Rosenthal

Decl. Ex. K, ECF No. 13-11).                Washington, D.C.’s WAMU radio

station also broadcasted the Podcasts into Maryland.                  (Compl.

¶ 56).     Aside from airing the March 19 Podcast and the May 28

Podcast, these five radio stations re-aired the May 28 Podcast

on June 2, 2016.     (Id. ¶ 55).

       Walters   tweeted    some   of   the    Articles    and   Podcasts     to

Twitter users in April and June of 2016.              On April 13, 2016,

American University’s Career Services Twitter account tweeted a

job opening for an International Development Associate position

in Planet Aid’s Elkridge, Maryland office.            (Rosenthal Decl. Ex.

E, ECF No. 13-5).          Walters replied to the tweet on April 16,

2016 with, “@AU_SIScareers Thought you’d be interested [in] our

latest podcast on @PlanetAid” and included a link to the March

19 Podcast.      (Id.).      On April 25, 2016 another Twitter user,

@chipmunk07, tweeted, “Thrift shopping with me this evening at

our      local   @planetaid!!       Come       out!   #baltimore          #bmore

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#baltimorecity.”            (Rosenthal          Decl.      Ex.     D,    ECF   No.    13-4).

Walters       replied      to     the    tweet       similarly      with,      “@chipmunk07

Thought you’d be interested our latest podcast on @PlanetAid”

and included a link to the March 19 Podcast.4                            (Id.).      Finally,

on     June      12,     2016,     Twitter          user    @LBRConsulting           tweeted,

“@planetaid SO IMPRESSED with store in Catonsville, MD. Clean,

well[-]organized, excellent service, great deals. THANK YOU!!!!”

(Rosenthal Decl. Ex. C, ECF No. 13-3).                           Walters replied to the

tweet on June 20, 2016 with, “@LBRConsulting @planetaid Check

out    our     Planet     Aid     investigation”           and    included      a    link    to

Reveal’s website where the Articles could be found.                            (Id.).5

D.     Procedural History

       Planet Aid and Thomsen filed the present action on August

25, 2016.        (ECF No. 1).           In their fifteen-count Complaint, they

allege: Civil Conspiracy (Count I); Defamation (Counts II–XII);

False Light (Count XIII); Tortious Interference with Prospective

Economic       Advantage        (Count   XIV);       and   Unjust       Enrichment     (Count

XV).        (Compl.).       On     October       31,     2016,     Defendants       moved    to

dismiss       all      Counts    for     lack       of   personal       jurisdiction        and

improper venue.           (ECF No. 11).          On November 17, 2016, Plaintiffs

filed an Opposition, (ECF No. 13), and on December 5, 2016,

Defendants filed a Reply, (ECF No. 14).                           On December 7, 2016,

       4
       The date of this tweet is not clear from the record.
       5
       It is unclear from the record which specific article or
series of articles the link made available.
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Plaintiffs    filed   a   Motion     for       Leave   to     File    a    Sur-Reply    in

Opposition to the Motion to Dismiss, (ECF No. 15); it was fully

briefed as of December 12, 2016.               (See ECF Nos. 16, 19).

                               II.    DISCUSSION

A.    Motion for Leave to File Sur-Reply

      “Unless otherwise ordered by the court, surreply memoranda

are   not   permitted     to   be   filed.”       Local       Rule    105.2(a)   (D.Md.

2016).      Typically,     “[s]urreplies         may     be    permitted       when    the

moving party would be unable to contest matters presented to the

court for the first time in the opposing party’s reply.”                          Khoury

v. Meserve, 268 F.Supp.2d 600, 605 (D.Md. 2003) (citing Lewis v.

Rumsfeld, 154 F.Supp.2d 56, 61 (D.D.C. 2001)).

      Here,    the    Court     concludes         that      the      moving     parties,

Plaintiffs, are contesting matters that Defendants presented to

the Court for the first time in their Reply.                          Defendants, for

the first time in their Reply, argue the following: (1) Walters

was unaware her tweets were sent to Maryland residents; (2) PRX,

rather than Defendants, distributed the Podcasts in Maryland,

rendering     those     contacts     irrelevant          to     the       jurisdictional

analysis; and (3) there should be an evidentiary hearing to

resolve the state of Planet Aid’s principal place of business,

in the event the Court views that issue as dispositive.                                In

their proposed Sur-Reply, Plaintiffs respond to all three of

Defendants’    new    arguments,      contending          that       the    tweets    that

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Walters replied to make it clear that the Twitter users live in

Maryland,     PRX    is     Reveal’s      partner,    and     Defendants    are    not

entitled to an evidentiary hearing.                 Because Plaintiffs would be

unable to contest Defendants’ new arguments without a Sur-Reply,

the   Court    will       grant     Plaintiffs’      Motion    and   consider      the

arguments in Plaintiffs’ Sur-Reply                  when resolving Defendants’

Motion to Dismiss.

B.    Motion to Dismiss for Lack of Personal Jurisdiction

      1.    Standard of Review

      Defendants         argue    the    Court   should   dismiss    the   Complaint

because     the     Court        lacks   personal    jurisdiction       over    them.

Federal    Rule     of    Civil     Procedure    12(b)(2)     governs    motions    to

dismiss for lack of personal jurisdiction.                    When a non-resident

defendant challenges a court’s power to exercise jurisdiction,

“the jurisdictional question is to be resolved by the judge,

with the burden on the plaintiff ultimately to prove grounds for

jurisdiction by a preponderance of the evidence.”                       Carefirst of

Md., Inc. v. Carefirst Pregnancy Ctrs. Inc., 334 F.3d 390, 396

(4th Cir. 2003) (citing Mylan Labs., Inc. v. Akzo, N.V., 2 F.3d

56, 59–60 (4th Cir. 1993)).                 “Yet when, as here, the district

court decides a pretrial personal jurisdiction dismissal motion

without an evidentiary hearing, the plaintiff need prove only a

prima facie case of personal jurisdiction.”                   Mylan Labs., 2 F.3d



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at 60 (citing Combs v. Bakker, 886 F.2d 673, 676 (4th Cir.

1989)).

     In determining whether the plaintiff has proved a prima

facie case of personal jurisdiction, the Court “must draw all

reasonable inferences arising from the proof, and resolve all

factual disputes, in the plaintiff’s favor.”           Id. (citing Combs,

886 F.2d at 676).      That is, a court must draw the most favorable

inferences in favor of jurisdiction.          New Wellington, 416 F.3d

at 294 (citations omitted).          Additionally, a court is permitted

to consider evidence outside the pleadings when resolving a Rule

12(b)(2) motion.         Structural Pres. Sys., LLC v. Andrews, 931

F.Supp.2d 667, 671 (D.Md. 2013) (citing Silo Point II LLC v.

Suffolk Const. Co., 578 F.Supp.2d 807, 809 (D.Md. 2008)).

     2.     Analysis

     When determining whether it has personal jurisdiction over

a party, “a federal court applies the law of the state in which

it sits.”     CoStar Realty Info., Inc. v. Field, 612 F.Supp.2d

660, 670 (D.Md. 2009) (citing Carefirst of Md., Inc., 334 F.3d

at 396).     A federal district court may only exercise personal

jurisdiction over a nonresident defendant when such exercise (1)

is   authorized    under    the   state’s   long-arm     statute    and   (2)

satisfies    the   due     process   requirements   of    the      Fourteenth

Amendment to the United States Constitution.               Carefirst, 334

F.3d at 396 (citing Christian Sci. Bd. of Dirs. of the First

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Church of Christ v. Nolan, 259 F.3d 209, 215 (4th Cir. 2001)).

Maryland’s long-arm statute is coextensive with the limits of

personal     jurisdiction             set    by   the      due     process    clause       of   the

Constitution.        Mohamed v. Michael, 370 A.2d 551, 553 (Md. 1977).

But   this    does       not     mean        courts        may   simply      equate       the   two

analyses.      Mackey v. Compass Mktg, Inc., 892 A.2d 479, 493 n.6

(Md. 2006) (holding that courts may not “dispense with analysis

under the long-arm statute.”).                     At least one reason for this is

that there may be cases when the facts satisfy constitutional

due   process      but     do    not        satisfy     Maryland’s         long-arm       statute.

Dring v. Sullivan, 423 F.Supp.2d 540, 545 (D.Md. 2006).                                     A more

precise      description          of        the    relationship            between       the    two

doctrines is that “to the extent that a defendant's activities

are covered by the statutory language, the reach of the statute

extends to the outermost boundaries of the due process clause.”

Id.   (quoting      Joseph        M.    Coleman        &    Assocs.,       Ltd.     v.    Colonial

Metals, 887 F.Supp. 116, 118–19 n.2 (D.Md. 1995).

      Here, the Court concludes that even if Maryland’s long-arm

statute      authorizes          personal          jurisdiction            over     Defendants,

exercising      personal          jurisdiction              over    Defendants           does   not

satisfy      the     due        process        requirements           of     the     Fourteenth

Amendment.         Under        the    Due     Process       Clause    of     the    Fourteenth

Amendment,      while      a     nonresident           defendant’s         physical       presence

within the forum state is not required for the court to exercise

                                                  12
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personal       jurisdiction,     the     defendant       must     generally      have

sufficient “minimum contacts” so that “the maintenance of the

suit    does    not    offend   traditional      notions    of    fair    play   and

substantial justice.”           Walden v. Fiore, 134 S.Ct. 1115, 1121

(2014) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316

(1945)) (internal quotation marks omitted).

       The defendant’s contacts may form the basis of general or

specific       jurisdiction.           With     general     jurisdiction,        the

defendant’s contacts with the state are not the basis for the

suit and the “jurisdiction over the defendant must arise from

the defendant’s general, more persistent, but unrelated contacts

with the state.”         Carefirst, 334 F.3d at 397.             Conversely, with

specific jurisdiction, the defendant’s contacts form the basis

of the suit.          Id.   Here, Defendants’ contacts with Maryland

arose from their stories about Planet Aid, and those stories

form the basis of this action.                Thus, the Court must determine

whether Plaintiffs have proved a prima facie case of specific

jurisdiction.         See Mylan Labs., 2 F.3d at 60 (citing Combs, 886

F.2d at 676).

       The United States Court of Appeals for the Fourth Circuit

has developed a three-prong test for specific jurisdiction in

which    the    Court    considers:     “(1)     the   extent      to    which   the

defendant      purposefully     availed       itself   of   the     privilege      of

conducting       activities      in     the     State;      (2)     whether      the

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plaintiff[’s] claims arise out of those activities directed at

the State; and (3) whether the exercise of personal jurisdiction

would be constitutionally reasonable.”                         Consulting Eng’rs, 561

F.3d     at    278        (quoting      ALS        Scan,    Inc.     v.     Digital      Serv.

Consultants, Inc., 293 F.3d 707, 712 (4th Cir. 2002)).                                       The

Fourth Circuit cautions courts to examine the quality and nature

of the contacts rather than “merely . . . count the contacts and

quantitatively           compare      this    case     to    other       preceding     cases.”

Carefirst, 334 F.3d at 397 (quoting Nichols v. G.D. Searle &

Co., 783 F.Supp. 233, 238 (D.Md. 1992)).                          When claims arise out

of a single contact, that single contact may be sufficient to

create jurisdiction as long as exercising jurisdiction would not

offend    “fair          play   and    substantial          justice.”         Id.      (citing

Nichols, 783 F.Supp. at 238).

       Plaintiffs         assert      specific       jurisdiction         exists       for   two

reasons       --    first,      Planet       Aid    suffered       the    most    injury      in

Maryland,          and     second,     Defendants           and     third     parties        had

sufficient minimum contacts with Maryland.                           The Court considers

these arguments in turn.

              a.         Planet Aid’s Injury in Maryland from Defendants’
                         Allegedly Tortious Conduct

       Plaintiffs         argue    that      Maryland’s       interest       in   exercising

jurisdiction over parties that commit torts within it warrants

exercising         jurisdiction        here,       relying     on    Keeton       v.   Hustler


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Magazine, Inc., 465 U.S. 770 (1984).               Plaintiffs misread Keeton.

The Court in Keeton found that specific jurisdiction was present

because of defendant National Inquirer’s “regular circulation of

magazines in the forum State,” New Hampshire.                 465 U.S. at 773–

74.       Keeton   cited   New   Hampshire’s       “significant       interest   in

redressing injuries” that occurred there, but only in response

to the lower court’s view that jurisdiction was not present

because of New Hampshire’s “minimal” interest.                  Id. at 775–76.

Here, there are no allegations before the Court that Defendants

circulate     their   articles   or   podcasts       in    Maryland    regularly.6

Thus, the Court will not exercise specific jurisdiction over

Defendants simply because Planet Aid allegedly suffered the most

injury in Maryland.

             b.     Contacts with Maryland

      Plaintiffs      argue   that   two    sets   of     contacts    support    the

exercise     of    specific   jurisdiction.         First,    Plaintiffs    offer

contacts made by third parties in an alleged conspiracy with

Defendants, and second, contacts made by Defendants themselves.

The Court considers these contacts in turn.




      6
       Of course, Plaintiffs point to the five radio stations
that may broadcast Reveal’s podcasts in Maryland from PRX.   As
the Court will describe below, however, the Court cannot impute
PRX’s contacts with Maryland to Defendants.        See Section
II.B.2.b.i infra.
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                       i.    Conspiracy Theory of Jurisdiction

       Defendants       argue       that     because        some      contacts      supporting

jurisdiction are contacts that third parties -- PRX, NBC 4, and

Thompson -- made with Maryland, they cannot support specific

jurisdiction over Defendants.                   Plaintiffs argue that under the

“conspiracy theory” of jurisdiction, the actions of PRX, NBC 4,

and Thompson may be imputed onto Defendants for the purposes of

personal jurisdiction.               The Court concludes that applying the

conspiracy theory of jurisdiction here does not comport with the

Constitution’s due process requirements.

       Under     Maryland          law,     a    court       may       exercise       personal

jurisdiction over a defendant involved in a conspiracy when “a

co-conspirator          performs         jurisdictionally           sufficient        acts    in

furtherance of the conspiracy.”                      Wings to Go, Inc. v. Reynolds,

No.    CCB-15-2556,         2016    WL     97833,     at    *2   (D.Md.      Jan.     8,   2016)

(citing       Mackey    v.    Compass        Mktg.,        Inc.,      892   A.2d    479,     487

(2006)).       When analyzing whether exercising jurisdiction over a

defendant under the conspiracy theory of jurisdiction comports

with    due    process       requirements,           the    “pertinent        question”       is

whether a defendant “has fair warning that his participation

could    subject       him   to     the     jurisdiction         of    a    foreign    forum.”

Wings to Go, 2016 WL 97833, at *4 (quoting Compass Mktg., Inc.

v. Schering-Plough Corp., 438 F.Supp.2d 592, 596 (D.Md. 2006))

(internal       quotation          marks     omitted).             “[T]his     question       is

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answered     by   the    very   nature       of       a   conspiracy      theory.”         Id.

(quoting     Compass       Mktg.,      438        F.Supp.2d       at    596)      (internal

quotation        marks     omitted).              For     the     court      to    exercise

jurisdiction under the conspiracy theory, a defendant must have

had   a   “reasonable       expectation,          at      the   time   the     [defendant]

agreed to participate in the conspiracy, that acts to be done in

furtherance of the conspiracy by another co-conspirator would be

sufficient”        to      subject      the           co-conspirator       to      personal

jurisdiction in the forum.              Compass Mktg., 438 F.Supp.2d at 596

(citing Mackey, 892 A.2d at 487).

      Here, the Court concludes that Defendants could not have

had a reasonable expectation that, when partnering with PRX to

air stories about Planet Aid, airing those stories                                 would    be

enough to subject PRX to personal jurisdiction in Maryland.                                 It

is undisputed that PRX              distributed           the Podcasts to over 364

radio stations across the United States.                        (Pyle Decl. ¶¶ 7, 10).

Defendants       could   not    have    had       a    reasonable      expectation        that

PRX’s     nationwide        distribution           of     the     Podcasts        would     be

sufficient to subject PRX to personal jurisdiction in Maryland

merely because five of those 364 radio stations would broadcast

the Podcasts into Maryland.

      Plaintiffs rely primarily on Calder v. Jones, 465 U.S. 783

(1984),     to     argue     that      in     defamation         actions,         nationwide

distribution of the defamatory material still supports personal

                                             17
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jurisdiction in a particular forum.7                   Plaintiffs’ reliance on

Calder is misplaced.

      In    Calder,      the     Court    concluded    that     jurisdiction      over

defendants existed in California because “California [was] the

focal point both of the story and of the harm suffered.”                             465

U.S. at 789.       Yet unlike in Calder, where the allegedly libelous

story     “concerned      the    California       activities    of     a    California

resident,”       here,   the Podcasts did not focus on Maryland                      and

instead     focused      on    Planet    Aid’s    international       dealings,   with

only incidental concern for Planet Aid’s activities in Maryland.

See 465 U.S. at 788.                  The Podcasts focused on Planet Aid’s

relationship with the Teachers Group -- a Danish organization --

accused Planet Aid of stealing and redirecting money from the

USDA to other countries, and described Planet Aid’s activities

in   Africa.        (See      generally      March    19    Podcast    Transcripts).

Indeed, the title of the March 19 Podcast was, “Alleged Cult

Leader     Plays   Shell       Game   with   U.S.    Foreign   Aid.”        (March    19

Article     at   1).       And    unlike     in   Calder,    where    the    allegedly

libelous story “was drawn from California sources,” the Podcasts


      7
       Plaintiffs rely on Calder to argue generally in favor of
exercising personal jurisdiction over Defendants, rather than in
favor of exercising jurisdiction over Defendants under the
conspiracy theory of jurisdiction.      Because their argument
addresses whether Defendants could reasonably expect the Court
to exercise personal jurisdiction over PRX, the Court will
consider Plaintiffs’ argument under the conspiracy theory of
jurisdiction.
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were drawn from a variety of sources in addition to Maryland

sources.       See 465 U.S. at 788–89.             Smith and Walters interviewed

sources from across the United States and several countries.

(See Walters Decl. ¶ 8; Smith Decl. ¶ 7).                        Because Defendants

could    not    have     reasonably        expected    that   partnering     with   PRX

would    subject       PRX     to   personal      jurisdiction    in    Maryland,   the

Court     will     not       impute     PRX’s      contacts      with    Maryland    to

Defendants.

      The Court further concludes that Defendants could not have

had a reasonable expectation that, when partnering with NBC 4 to

air stories about Planet Aid, airing those stories would be

enough to subject NBC 4 to personal jurisdiction in Maryland.

NBC 4 is a television station that is based in Washington, D.C.

and   aired      the     two    NBC    4    Broadcasts    from     Washington,      D.C.

(Compl. ¶ 55).            Defendants, therefore, could not have had a

reasonable expectation that airing the NBC 4 Broadcasts from

Washington, D.C. would subject NBC 4 to jurisdiction in Maryland

simply because the two NBC 4 Broadcasts could also be viewed in

Maryland.

      Plaintiffs rely on Calder for the proposition that even if

a party circulates allegedly defamatory statements nationwide, a

court can exercise personal jurisdiction over the party as long

as the party circulates the statements in the court’s forum.

Plaintiffs interpret Calder too broadly.                      In Calder, the Court

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found         that      jurisdiction      existed           not     simply     because      the

defendants           circulated    the    allegedly          defamatory       statements     in

California, but because “California [was] the focal point both

of the story and of the harm suffered.”                           465 U.S. at 789.        Here,

like with the Podcasts, Maryland was not the focal point of the

NBC 4 Broadcasts.              While the NBC 4 Broadcasts acknowledge that

Planet Aid is a Maryland-based charity and featured a former

Maryland employee, (Compl. ¶ 59), the focus of the stories was

on Reveal’s investigation into Planet Aid’s relationship with

the Teachers Group and Reveal’s allegations that Planet Aid was

misusing USDA money.              (See generally May 23 Broadcast).                  The NBC

4   Broadcasts          also   asserted     Planet      Aid       was    requiring    African

villages to buy water pumps from it that they could not afford.

(May 23 Broadcast at 4:15).                 Because Defendants could not have

reasonably expected that partnering with NBC 4 would subject NBC

4   to       personal     jurisdiction      in       Maryland,       the   Court    will    not

impute NBC 4’s contacts with Maryland to Defendants.8

         In sum, the Court will not impute PRX’s or NBC 4’s contacts

with         Maryland    to    Defendants    because         applying        the   conspiracy

theory         of     jurisdiction       here        does     not       comport    with     the

         8
         Defendants, moreover, could not have had a reasonable
expectation that, when partnering with Thompson to report on
Planet Aid, Thompson’s tweets would subject Thompson to personal
jurisdiction in Maryland.   For reasons the Court will describe
infra, even assuming that the Twitter users reside in Maryland,
Thompson’s tweets are insufficient minimum contacts between
Defendants and Maryland.
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Constitution’s due process requirements.                 Accordingly, the Court

will consider only Defendants’ own contacts with Maryland.

                  ii.    Defendants’ Contacts with               Maryland      under
                         Calder’s “Effects Test”

       Plaintiffs’ remaining two arguments in favor of exercising

jurisdiction     are    based    on    the    “effects   test”     established   by

Calder and its progeny.               Under that test, the plaintiff must

show that:

              (1) the defendant committed an intentional
              tort; (2) the plaintiff felt the brunt of
              the harm in the forum, such that the forum
              can be said to be the focal point of the
              harm; and (3) the defendant expressly aimed
              his tortious conduct at the forum, such that
              the forum can be said to be the focal point
              of the tortious activity.

Consulting Engineers Corp. v. Geometric Ltd., 561 F.3d 273, 280

(4th   Cir.    2009)    (quoting       Carefirst,    334    F.3d    at   398   n.7)

(internal quotation marks omitted).

       Plaintiffs make two arguments based on the effects test.

First, Plaintiffs argue that Smith and Walters’s virtual contact

with Maryland residents is sufficient for the Court to exercise

specific    jurisdiction        over   Defendants.         Plaintiffs    highlight

that Walters tweeted the Podcasts and the Articles at Twitter

users who appear to reside in Maryland, that Walters replied to

a tweet advertising a job opening in Planet Aid’s Elkridge,

Maryland office with a link to the March 19 Podcast, and that

Walters and Smith emailed Maryland residents as part of their

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investigation.      Defendants argue that the Twitter users may not

be    Maryland     residents    and     that        the     virtual     contact     is

insufficient for the Court to exercise specific jurisdiction.

Because    Plaintiffs    must    prove       only    a    prima     facie    case   of

jurisdiction,      requiring    the   Court    to     make    all     inferences    in

favor of jurisdiction, the Court infers that the Twitter users

are Maryland residents.9         See Mylan Labs., 2 F.3d at 60 (citing

Combs, 886 F.2d at 676); see also New Wellington, 416 F.3d at

294 (citations omitted).          The Court still concludes, however,

that Smith and Walters’s virtual contact with Maryland residents

is insufficient for the Court to exercise specific jurisdiction.

      Plaintiffs rely mostly on First American First, Inc. v.

National Association         of Bank Women, 802 F.2d 1511                   (4th Cir.

1986), for the proposition that even when a defamatory statement

is distributed nationwide, sending the statement to persons in

the   forum   state     is   sufficient       for    that    state     to    exercise

jurisdiction under the effects test.                 Plaintiffs overlook that

the   court   in    First    American    First       found    that     jurisdiction

existed not simply because the defendant sent the defamatory

      9
       The Court makes this inference because these two tweets
suggest that the Twitter user who posted the tweet was present
in Maryland at the time of the post.   (See Rosenthal Decl. Ex.
D-1) (“Thrift shopping with me this evening at our local
@planetaid!! Come out! #baltimore #bmore #baltimorecity.”)
(emphasis added); Rosenthal Decl. Ex. C (“@planetaid SO
IMPRESSED   with   store in  Catonsville,  MD.   Clean,  well[-
]organized, excellent service, great deals. THANK YOU!!!!”)
(emphasis added)).
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statement to persons in             the forum state, Virginia, but                    also

because the plaintiff lived and worked in Virginia, and all the

officers       and     activities     of     his        business     --       which   was

incorporated in Virginia -- resided and took place in Virginia,

respectively.         First Am. First, 802 F.2d at 1516–17.

       Plaintiffs further overlook that district courts have later

observed, “[s]ince New American . . . the Fourth Circuit has

seemed to require more than the Calder ‘effects-test’ to hold

exercises        of      jurisdiction            over      foreign            tortfeasors

constitutional.”         Cole-Tuve, Inc. v. Am. Mach. Tools Corp., 342

F.Supp.2d 362, 367 (D.Md. 2004); see also, e.g., Chattery Int’l,

Inc. v. JoLida, Inc., No. WDQ-10-2236, 2011 WL 1230822, at *16

(D.Md. Mar. 28, 2011) (“The Fourth Circuit has interpreted the

‘effects’ test narrowly.”).                The Fourth Circuit requires that

for a state to exercise jurisdiction, the plaintiff must not

only feel      the alleged injury           there,      but also those injuries

“must ultimately be accompanied by the defendant’s own contacts

with the state.”          Consulting Engineers Corp., 561 F.3d at 281

(quoting ESAB Grp., Inc. v. Centricut, Inc., 126 F.3d 617, 626

(4th    Cir.    1997))    (internal        quotation      marks     omitted).         The

Supreme Court later endorsed this interpretation of the effects

test.     See Walden, 134 S. Ct. at 1125 (“. . . Calder made clear

that    mere    injury    to   a    forum    resident       is     not    a    sufficient

connection to the forum.”).

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       The Court concludes that the Fourth Circuit’s test in ALS

Scan, Inc. v. Digital Serv. Consultants, Inc., 293 F.3d 707 (4th

Cir.    2002),     is    most   appropriate.          In    ALS     Scan,    the   Fourth

Circuit adapted the effects test to the Internet context.                              See

Young v. New Haven Advocate, 315 F.3d 256, 263 (4th Cir. 2002)

(“In ALS Scan we went on to adapt the traditional standard . . .

for establishing specific jurisdiction so that it makes sense in

the Internet context.”); see also Zippo Mfg. Co. v. Zippo Dot

Com, Inc., 952 F.Supp. 1119 (W.D.Pa. 1997) (first applying the

test ALS Scan later adopted).                  In that context, the plaintiff

must show that the defendant “(1) directs electronic activity

into the State, (2) with the manifested intent of engaging in

business or other interactions within the State, and (3) that

activity creates, in a person within the State, a potential

cause of action cognizable in the State's courts.”                           Carefirst,

334 F.3d at 399 (quoting ALS Scan, 293 F.3d at 714).

       Here,   Walters      tweeted     the      Podcasts    and     the    Articles   at

Twitter users who reside in Maryland, and Walters replied to a

tweet    advertising       a    job    opening       in    Planet    Aid’s    Elkridge,

Maryland office with a link to the March 19 Podcast.                         (Rosenthal

Decl. Exs. C through E).              In addition, Walters and Smith emailed

two     Maryland        residents      as     part    of     their     investigation.

(Lichtenberg Decl. Exs. A–C; Teppih Decl. ¶ 4).



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    On one hand, this virtual contact does direct electronic

activity into Maryland under ALS Scan’s first prong.                                On the

other hand, it is far less clear whether the virtual contact

here is enough to satisfy the first prong.                       Courts in the Fourth

Circuit have applied ALS Scan and its progeny only to websites

themselves -- not            sending links to              website content over the

Internet      and     making       other   virtual          contacts    directly      with

residents of a forum state.10                  In fact, the Supreme Court in

Walden left the very issue of virtual contacts open.                            See 134

S.Ct.    at    1125    n.9    (“[T]his     case       does    not   present    the    very

different      questions       whether     and       how     a   defendant's    virtual

‘presence’      and     conduct       translate           into   ‘contacts’     with     a

particular State . . . We leave questions about virtual contacts

for another day.”).

    Generally, for a court to exercise specific jurisdiction

consistent      with    due        process,        “the     defendant’s   suit-related

conduct    must     create     a    substantial           connection   with   the    forum

State.”       Walden, 134 S. Ct. at 1121 (emphasis added); see also

Young, 315 F.3d at 263 (holding that when a defendant posts news

    10
        The parties do not offer any cases where non-residents
sent website content or made other virtual contacts directly to
residents of a forum state.    After its own exhaustive search,
the most similar case the Court found was Dring v. Sullivan, 423
F.Supp.2d 540 (D.Md. 2006).        In Dring, the non-resident
defendant sent an allegedly defamatory email to an email
listserv with several dozen members.   423 F.Supp.2d at 542–43.
Only about four percent of the listserv’s members were Maryland
residents, however. Id. at 548.
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articles on a website, the first and second prongs of the ALS

Scan    test     require    the    plaintiff          to   show    that     the    Internet

newspaper      purposefully        directed        electronic        activity       “in    a

substantial way to the forum state” (quoting Panavision Int’l,

L.P. v. Toeppen, 141 F.3d 1316, 1321 (9th Cir. 1998) (emphasis

added)).          The   defendant’s            contacts      “must     have       been    so

substantial that ‘they amount to a surrogate for presence and

thus    render    the   exercise        of    sovereignty         just.’”        Consulting

Engineers, 561 F.3d at 277–78 (quoting ESAB Group, 126 F.3d at

623).     But to be sure, the connection “need not be as extensive

as is necessary for general jurisdiction.”                        ESAB Group, 126 F.3d

at 625.

       Because a substantial connection is required, before the

advent of the Internet, courts in the Fourth Circuit held that

communications made by non-residents from outside of Maryland to

a   Maryland      resident,       alone,        are      insufficient       to    exercise

jurisdiction.       Leather Masters (PVT), Ltd. v. Giampier Ltd., 836

F.Supp. 328, 331 (D.Md. 1993) (citing                       Craig v. General Fin.

Corp., 504 F.Supp. 1033, 1038 (D.Md. 1980).                           For example, in

Leather     Masters,       the    defendant’s          “correspondence,           telephone

conversations, and         [fax] communications” with the plaintiff’s

agent in Maryland were insufficient to establish jurisdiction

consistent       with   due      process.          Id.      Similarly,        “occasional

telephonic        requests        for        information      from        Maryland-based

                                              26
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investigation          services       over          a    period     of   years”        have      been

insufficient as well.                 Stover v. O'Connell Assocs., Inc., 84

F.3d 132, 137 (4th Cir. 1996); see also Russell v. Med. Bus.

Bureau, LLC, No. RDB-12-2983, 2013 WL 3805118, at *3 (D.Md. July

19,    2013)      (concluding            that       one     telephone      conversation           the

plaintiff       initiated          with    the          defendant    was    insufficient           to

establish jurisdiction).

       The Court concludes that these pre-Internet cases involving

communications made from outside Maryland to Maryland residents

also    apply     to    the    virtual          contacts       here.       Thus,        Smith     and

Walters’s       virtual       contact          is       insufficient     for     the     Court    to

exercise jurisdiction consistent with due process because they

do     not   establish         a     substantial            connection          with     Maryland.

Sending three tweets and four emails related to the Podcasts and

the Articles over a period of a year and a half are not “so

substantial that ‘they amount to a surrogate’” for Smith and

Walters’s presence in Maryland.                           See Consulting Engineers, 561

F.3d at 277–78 (quoting ESAB Group, 126 F.3d at 623).                                         In the

same way that occasional telephonic requests for information,

mail    correspondence,             or     fax          communication      from        outside     of

Maryland     to    Maryland         residents,            is   insufficient        to     exercise

jurisdiction,          so,    too,       are    Walters’       tweets      on    two     or    three




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different      days11    from    California,       or    Smith    and    Walters’s

occasional     email     requests    for    interviews     from   California,     to

Maryland residents.            See Leather Masters, 836 F.Supp. at 331;

see also Stover, 84 F.3d at 137.                Because Smith and Walters’s

virtual contacts are insufficient to demonstrate a substantial

connection with Maryland, the Court will not exercise specific

jurisdiction over Defendants on this basis.12

      Turning to Plaintiffs’ second argument based on the effects

test,      Plaintiffs    argue   that     Planet   Aid’s   principal      place   of

business in Maryland, the Podcasts and the Articles’ focus on

Maryland,      and    their    reliance    on   Maryland    sources,     together,

satisfy the effects test.           The Court disagrees.

      In making this second argument, Plaintiffs rely heavily on

analogizing the present case to Calder to argue that Defendants’

contacts satisfy the effects test.              To review, the Supreme Court

in   Calder    held     that   jurisdiction     over    defendants      existed   in

California because “California [was] the focal point both of the

      11
        Walters sent one tweet on April 16, 2016 and a second one
on June 20, 2016. (Rosenthal Decl. Exs. C, E). It is unclear
from the record when Walters sent the third tweet.           (See
Rosenthal Decl. Ex. D).
     12
         For the aforementioned reasons, the Court further
concludes that Thompson’s tweets to Maryland residents are
insufficient for the Court to exercise jurisdiction consistent
with due process.    On, May 24, 2016, Thompson tweeted at two
Twitter users, @RoseRiverFamily and @CordellTraffic, asking
where   Planet   Aid   clothing  donation   boxes  are   located.
(Rosenthal Decl. Ex. F). Like Walters’s tweets, Thompson’s two
tweets related to the NBC 4 Broadcasts sent on the same day do
not demonstrate a substantial connection with Maryland.
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story    and    of   the   harm    suffered.”      465    U.S.      at   789.   Even

assuming that Planet Aid’s principal place of business is in

Maryland -- making Maryland arguably the focal point of the harm

suffered -- as explained above, Maryland was not the focus of

the Podcasts and the Articles.                 The focus of the Podcasts and

the Articles was Planet Aid’s relationship with the Teachers

Group and allegations of Planet Aid defrauding the USDA, with

only incidental concern for Planet Aid’s activities in Maryland.

And as explained above, the Podcasts and the Articles were not

drawn only, or even primarily, from Maryland sources, but from a

variety of sources from across the United States and several

countries in addition to Maryland.                 Thus, the Court concludes

that Plaintiffs fail to satisfy the effects test and will not

exercise jurisdiction over Defendants on this basis.

      In   sum,      the   Court   concludes     that    Plaintiffs       failed   to

establish a prima facie case in favor of jurisdiction based on

the   conspiracy       theory     of   jurisdiction      or   the    effects    test.

Accordingly,         the   Court       further   concludes       that     exercising

jurisdiction over Defendants does not comport with due process

and the Court will grant Defendants’ Motion.

               c.    Venue

      Because Plaintiffs have not made a prima facie showing that

the Court possesses personal jurisdiction over Defendants, the

Court must either dismiss the case so that Plaintiffs may re-

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file in a more appropriate jurisdiction, or transfer the case to

another district court “if it be in the interest of justice.”

28 U.S.C. § 1406(a); see, e.g., Broadnax Bey v. Pedersen, No.

DKC 15-3073, 2016 WL 3181763, at *4 (D.Md. June 8, 2016).                         The

Fourth Circuit has read § 1406(a) to authorize “transfer ‘for

any reason which constitutes an impediment to a decision on the

merits in the transferor district but would not be an impediment

in the transferee district.’”           Broadnax Bey, 2016 WL 3181763, at

*4   (quoting     Estate   of    Bank        v.   Swiss      Valley    Farms     Co.,

286 F.Supp.2d 514, 522 (D.Md. 2003)).                 Lack of jurisdiction is

one such “impediment,” and whether to dismiss or transfer an

action   under     §   1406(a)    is     within        the     district     court’s

discretion.     Id. (citing Bank, 286 F.Supp.2d at 522).

     Here, Defendants argue that the case should be transferred

to the United States District Court for the Northern District of

California.      The Court agrees.           Reveal, Smith, and Walters are

California    citizens.     (Pyle   Decl.         ¶   5,   Smith    Decl.   ¶¶   2–5;

Walters Decl. ¶¶ 2–6).       They work out of offices in Emeryville,

California.      (Smith Decl. ¶ 2; Walters Decl. ¶ 2).                         Reveal

recorded the Podcasts, wrote the Articles, and edited and posted

both in Emeryville.        (Pyle Decl. ¶¶ 7, 10).              The Podcasts and

the Articles were posted on Reveal’s website, which is supported

by servers in Emeryville.         (Pyle Decl. ¶ 7).                Thus, the Court

will exercise its discretion under § 1406(a) to transfer the

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case   to   the   Northern    District      of    California,      where   personal

jurisdiction and venue are proper.

                               III. CONCLUSION

       For the foregoing reasons, the Court will GRANT Plaintiffs’

Motion for Leave to File a Sur-Reply (ECF No. 15) and GRANT

Defendants’ Motion to Dismiss for Lack of Personal Jurisdiction

and Improper Venue (ECF No. 11).                 The Court will TRANSFER this

case   to   the   United     States   District       Court   for    the    Northern

District of California.        A separate Order follows.

Entered this 26th day of June, 2017

                                                /s/
                                      ________________________
                                      George L. Russell, III
                                      United States District Judge




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